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 5                                                E-FILED: 08/22/2016
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                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                             WESTERN DIVISION
11 Consumer Financial Protection
12 Bureau,                                 Case No. 2:15-cv-9692-PSG(Ex)

13         Plaintiff,                      PROPOSED ORDER GRANTING
14                                         APPLICATION TO CONTINUE
      v.                                   HEARING DATE
15
16 D and D Marketing, Inc., d/b/a          Current hearing date:
   T3Leads, et al.,                          October 17, 2016; 1:30 p.m.;
17                                           Courtroom 880 - Roybal (Judge
18         Defendants.                       Gutierrez)
                                           New hearing date:
19                                           November 7, 2016; 1:30 p.m.;
20                                           Courtroom 880 - Roybal (Judge
                                             Gutierrez)
21
22         Having considered the Plaintiff’s Application to Continue Hearing date and
23 Memorandum in Support, the Court FINDS good cause to continue the hearing
24
   date on the defendants’ Motion to Dismiss (ECF No. 39) and APPROVES the
25
26 Application. The Court hereby ORDERS that the hearing on Defendants’ Motion
27 to Dismiss is CONTINUED to November 7, 2016, at 1:30 p.m. in Courtroom
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     Case 2:15-cv-09692-PSG-E Document 43 Filed 08/22/16 Page 2 of 2 Page ID #:237



 1 880 – Roybal; Plaintiff’s opposition papers are due by October 17, 2016; and
 2
   Defendants’ reply papers are due by October 24, 2016.
 3
 4       It is so ORDERED.
 5
                                          DENIED
 6 Dated:                          _____________________________________
                                   United States District Judge
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